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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA


            NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY


                     This case has been assigned to District Judge Jesus Bernal and the assigned discovery
                Magistrate Judge is David T. Bristow.

                The case number on all documents filed with the Court should read as follows:
                                                    EDCV13- 513 JGB (DTBX)

                Pursuant to General Order 05-07 of the United States District Court for the Central
          District of California, the Magistrate Judge has been designated to hear discovery related
          motions.



          All discovery related motions should be noticed on the calendar of the Magistrate Judge




                                                                  NOTICE TO COUNSEL

       A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
       filed, a copy of this notice must be served on all plaintiffs).
       Subsequent documents must be filed at the following location:

       Ll    Western Division
                                                      U      Southern Division                       Eastern Division
             312 N. Spring St., Rm. G-8                      411 West Fourth St., Rm. 1-053          3470 Twelfth St., Rm. 134
             Los Angeles, CA 90012                           Santa Ana, CA 92701-4516                Riverside, CA 92501




       Failure to file at the proper location will result in your documents being returned to you.




      CV-18 (03/06)              NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
